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                                                     U.S. Trustee Monthly Operating Report

Fill in this information to identify the case:


Debtor Name:                CCS ASSET MANAGEMENT, INC.                                                                 Check if this is an
                                                                                                                        amended filing.
United States Bankruptcy court for:       WESTERN              District of TEXAS

Case Number:                21-10355



Official Form 425C

Monthly Operating Report for Small Business Under Chapter 11

Month:                      Sep-21                            Date Report Filed:     10/27/2021
                                                                                                  MM/DD/YYYY
Line of Business:           Real Estate Activities            NAISC Code:            5313



IN ACCORDANCE WITH TITLE 2B, SECTION 1746, OF THE UNITED STATES CODE, I DECLARE UNDER PENALTY OF PERJURY THAT I
HAVE EXAMINED THE FOLLOWING SMALL BUSINESS MONTHLY OPERATING REPORT AND THE ACCOMPANYING ATTACHMENTS
AND, TO THE BEST OF MY KNOWLEDGE, THESE DOCUMENTS ARE TRUE, CORRECT, AND COMPLETE.

  /s/Anthony Sheridan                                                                         10/27/2021
ORIGINAL SIGNATURE OF RESPONSIBLE PARTY                                              DATE REPORT SIGNED

Anthony Sheridan, Vice President
PRINTED NAME OF RESPONSIBLE PARTY AND POSITION WITH THE DEBTOR

1. QUESTIONNAIRE:
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.

IF YOU ANSWER NO TO ANY QUESITONS IN LINES 1-9, ATTACH AN EXPLANATION
                       AND LABEL IT EXHIBIT A .                                                     YES           NO          N/A
     1        DID THE BUSINESS OPERATE DURING THE ENTIRE REPORTING PERIOD?                           X
     2        DO YOU PLAN TO CONTINUE TO OPERATE THE BUSINESS NEXT MONTH?                            X
     3        HAVE YOU PAD ALL OF YOUR BILLS ON TIME                                                 X
     4        DID YOU PAY YOUR EMPLOYEES ON TIME?                                                    X
     5        HAVE YOU DEPOSITED ALL THE RECEIPTS FOR YOUR BUSINESS INTO DEBTOR
              IN POSSESSION (DIP) ACCOUNTS?                                                          X
     6
              HAVE YOU TIMELY FILED YOUR TAX RETURNS AND PAID ALL OF YOUR TAXES?                                  X
     7        HAVE YOU TIMELY FILED ALL OTHER REQUIRED GOVERNMENT FILINGS?                           X
     8        ARE YOU CURRENT ON YOUR QUARTERLY FEE PAYMENTS TO THE U.S.
              TRUSTEE OR BANKRUPTCY ADMINISTRATOR?                                                   X
     9        HAVE YOU TIMELY PAID ALL OF YOUR INSURANCE PREMIUMS?                                   X
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    IF YOU ANSWER YES TO ANY OF THE QUESTIONS IN LINES 10-18, ATTACH AN EXPLANATION AND LABEL ITEXHIBIT B .

                                                                                                         YES      NO        N/A
   10     DO YOU HAVE ANY BANK ACCOUNTS OPEN OTHER THAN THE DIP ACCOUNT?                                  X
   11    HAVE YOU SOLD ANY ASSETS OTHER THAN INVENTORY?                                                            X
   12    HAVE YOU SOLD OR TRANSFERRED ANY ASSETS OR PROVIDED SERVICES TO
         ANYONE RELATED TO THE DIP IN ANY WAY?                                                                     X
   13    DID ANY INSURANCE COMPANY CANCEL YOUR POLICY?                                                             X
   14    DID YOU HAVE ANY UNUSUAL OR SIGNIFICANT UNANTICIPATED EXPENSES?                                           X
   15    HAVE YOU BORROWED MONEY FROM ANYONE OR HAS ANYONE MADE ANY
         PAYMENTS ON YOUR BEHALF?                                                                                  X
   16    HAS ANYONE MADE AN INVESTMENT IN YOUR BUSINESS?                                                           X
   17    HAVE YOU PAID ANY BILLS YOU OWED BEFORE YOU FILED BANKRUPTCY?                                             X
   18    HAVE YOU ALLOWED ANY CHECKS TO CLEAR THE BANK THAT WERE ISSUED
         BEFORE YOU FILED BANKRUPTCY?                                                                              X


2. SUMMARY OF CASH ACTIVITY FOR ALL ACCOUNTS

   19    Total opening balance of all accounts                                                                             $67,360.15
         This amount must equal what you reported as cash on hand at the end of the month in the previous month. If this
         is your first report, report the total cash on hand as of the date of the filing of this case.

   20    Total Cash Receipts
         Attach a listing of all cash received for the month and label it Exhibit C . Include all cash
         received even if you have not deposited it at the bank, collections on receivables, credit
         card deposits, cash received from other parties, or loans, gifts, or payments made by
         other parties on your behalf. Do not attach bank statements in lieu of Exhibit C .

         Report the total from Exhibit C here.                                                                 $6,030.74

   21    Total Cash Disbursements
         Attach a listing of all payments you made in the month and label it Exhibit D . List the
         date paid, payee, purpose, and amount. Include all cash payments, debit card
         transactions, checks issued even if they have not cleared the bank, outstanding checks
         issued before the bankruptcy was filed that were allowed to clear this month, and
         payments made by other parties on your behalf. Do not attach bank statements in lieu of
         Exhibit D .

          Report the total from Exhibit D here.                                                                $1,950.06

   22    Net Cash Flow                                                                                         $4,080.68
         Subtract line 21 from 20 and report the result here. This amount may be different from
         what you may have calculated as net profit.

   23    Cash on hand at the end of the month
         Add line 22 + line 19. Report the result here.                                                                    $71,440.83

         Report this figure as the cash on hand at the beginning of the month on your next operating report.

         This amount may not match your bank account balance because you may have outstanding checks that have not
         cleared the bank or deposits in transit.
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3. UNPAID BILLS

          Attach a list of all debts (including taxes) which you have incurred since the date you filed bankruptcy but have
          not paid. Label it Exhibit E . Include the date the debt was incurred, who is owed the money, the purspose of the
          debt, and when the debt is due. Report the total from Exhibit E here.

   24     Total Payables                                                                                                             $0.00

                      (Exhibit E)

4. MONEY OWED TO YOU

          Attach a list of all amounts owed to you by your customers for work you have done or merchandise you have
          sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F. Identify who
          owes you money, how much is owed, and when payment is due. REport the total from Exhibit F here.

   25     Total Receivables                                                                                                   $153,833.75
                     (Exhibit F)

5. EMPLOYEES

   26     What was the number of employees when the case was filed?                                                              0

   27     What is the number of employees as of the date of this report?                                                         0

6. PROFESSIONAL FEES

   28     How much have you paid this month in professional fees related to this bankruptcy case?                                    $0.00

   29     How much in professional fees related to this bankruptcy case since the case was filed?                                    $0.00

   30     How much have you paid this month in other professional fees?                                                              $0.00

   31     How much have you paid in total other professional fees since filing this case?                                            $0.00
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7. PROJECTIONS


         Compare your actual cash receipts and disburesements to what you projected in the previous month. Projected
         figures in the first month should match those provided at the initial debtor interview, if any.

                                   Column A                               Column B                               Column C
                                           Projected                               Actual                                  Difference
                                   Copy lines 35-37 from                  Copy lines 20-22 of this               Subtract Column B from
                                   the previous month's                   report.                                Column A.
                                   report.


   32    Cash Receipts                         $8,000.00           ‐                     $6,030.75        =                          $1,969.25

   33    Cash Disbursements                    $3,000.00           ‐                     $1,950.06        =                          $1,049.94

   34    Net Cash Flow                         $5,000.00           ‐                     $4,080.69        =                           $919.31


   35    Total projected cash receipts for the next month:                                                                           $8,000.00

   36    Total projected cash disbursements for the next month:                                                                      $3,000.00

   37    Total projected net cash flow for the next month:                                                                           $5,000.00

(IF ACTUAL CASH PROFIT WAS 90% OR LESS THAN PROJECTED CASH PROFIT, PLEASE INCLUDE A DETAILED
WRITTEN EXPLANATION.)




8. ADDITIONAL INFORMATION

         If available, check the box to the left and attach copies of the following documents.

   38         X                    Bank statements for each open account (redact all but the last 4 digits of the account numbers.

   39                              Bank reconciliation reports for each account including list of outstanding checks.

   40         X                    Financial reports such as an income statement (profit/loss), balance sheet, and cash flow stmt

   41                              Budget, projection, or forecast reports.

   42                              Project, job costing, or work-in-progress reports.

                          RECONCILIATION OF CASH DISBURSEMENTS
CASH DISBURSEMENTS PER FORM 4A-2                                                                                                      1,950.06
CASH DISBURSEMENTS PER SUM OF FORM 4A-3                                                                                               1,950.06
CASH DISBURSEMENTS PER FORM 4D                                                                                                        1,950.06
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                 EXHIBIT A AND B TO MONTHLY OPERATING REPORT FOR AUGUST 2021



  Question 6: Have you timely filed your tax returns and paid all of your taxes?

  The Debtor filed a motion to employ a tax accountant [ECF No. 75] that was granted on September 27,
  2021 [ECF No. 87]. Pursuant to such order, the Debtor has retained Gray & Associates, CPA to prepare
  and file its tax returns. The Debtor does not anticipate any tax liability.



  Question 10: Do you have any bank accounts open other than the DIP Account?

  The Receiver’s account contains property of the estate that has not yet been provided to the Debtor as
  debtor‐in‐possession pursuant to Bankruptcy Code 543. The Debtor and the Trustee have submitted an
  agreed order providing that the Receiver will continue to hold rent and other proceeds from the
  Cameron Road Property.
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                      EXHIBIT F TO MONTHLY OPERATING REPORT FOR AUGUST 2021



  Estimated* Prepetition Accounts Receivable:

                  Party                                      Date             Amount
                  LJA Ventures, Inc. (Bar)                   10/2020              $9,839.59
                                                             11/2020             $12,839.59
                                                             12/2020              $9,839.59
                                                             01/2021             $12,839.59
                                                             02/2021             $12,839.59
                                                             03/2021             $12,839.59
                                                             04/2021             $12,839.59
                  AAB, Inc (Barbershop)                      10/2020              $1,897.91
                                                             11/2020              $1,797.91
                                                             12/2020              $3,397.91
                                                             01/2021              $3,397.91
                                                             02/2021              $3,397.91
                                                             04/2021              $1,869.12


  Estimated* Postpetition Accounts Receivable:

                 Party                                       Date             Amount
                 LJA Ventures, Inc.                          05/2021             $12,839.59
                                                             06/2021               $839.59
                                                             07/2021             $12,839.59
                                                             08/2021             $12,839.59
                                                             09/2021             $12,839.59
                 AAB, Inc (Barbershop)                       09/2021              $2,000.00


  *In light of the Receiver’s collection of rent and potential authority pre‐petition to contract with respect
  thereto (including the Receiver’s potential accommodation of tenant’s financial difficulties faced by
  tenants due to COVID‐19 and the Receiver’s dual role as Receiver of the Cameron Road Property and
  Midtown Live) the precise amounts are uncertain. The Debtor discloses these amounts based on the
  information available. The Debtor (a) reserves all rights and waives none, (b) acknowledges that the
  amounts indicated may be disputed, and (c) does not assert that the amounts indicated are collectable.
  Additionally, the Debtor has notes receivable in the face amount of $250,000 the collection of which is
  doubtful.
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                      *RECIEVER ACCOUNT*
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                  *DIP ACCOUNT*
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DEBTOR:        CCS ASSET MANAGEMENT INC                                     CASE NO:             21-10355



                  CASH RECEIPTS AND DISBURSEMENTS STATEMENT FORM SB-2
                                      For Period:    09/01/21   to     09/30/21


CASH FLOW SUMMARY                                                       Current
                                                                        Month               Accumulated

1. Beginning Cash Balance                                       $         67,306.15 (1) $     36,413.38 (1)

2. Cash Receipts
     Operations                                                                0.00                30.33
     Sale of Assets NOTE: See (B) Below:                                       0.00                 0.00
     Loans/advances                                                            0.00                 0.00
     Other (Rent to Receiver)                                              6,030.74            47,122.96

     Total Cash Receipts                                        $          6,030.74    $      47,153.29

3. Cash Disbursements
     Operations                                                 $            128.62    $         543.18
     Debt Service/Secured loan payment                                         0.00                0.00
     Professional fees/U.S. Trustee fees                                       0.00              250.00
     Payments made from asset sale: NOTE: See (C) Below.                       0.00                0.00
     Other (Receiver Disbursements)                                        1,821.44           11,371.78

     Total Cash Disbursements                                   $          1,950.06    $      12,164.96

4. Net Cash Flow (Total Cash Receipts less
     Total Cash Disbursements)                                  $          4,080.68    $      34,988.33


5 Ending Cash Balance                                           $         71,386.83 (2) $     71,401.71 (2)


CASH BALANCE SUMMARY See Note (A) below.                                                       Book

  Petty Cash                                                    N/A                    $            0.00
  DIP Operating Account                                    Account 6720                $       4,237.21
  DIP State Tax Account                                         N/A                    $            0.00
  DIP Payroll Account                                           N/A                    $            0.00
  Other Operating Account                                  Account 9227                $      67,149.62
  Other Interest-bearing Account                                N/A                    $            0.00

  TOTAL (must agree with Ending Cash Balance above)                                    $      71,386.83 (2)
  Variance between Ending Cash Balance and Ending Book Balances:                                    0.00

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.
(B) This figure should include the gross amount the seller receives from the sale. On a HUD-1, this would be li
(C) This figure should include all reductions paid by the debtor for the sale of of asset(s). On a HUD-1, this wo
(1) Accumulated beginning cash balance is the cash available at the commencement of the case
    Current month beginning cash balance should equal the previous month's ending balance
(2) All cash balances should be the same.
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DEBTOR:           CCS ASSET MANAGEMENT INC                                    CASE NO:                21-10355


                                                       Form SB-3
                     CASH RECEIPTS AND DISBURSEMENTS STATEMENT (SEE NOTE A)
                                          FOR THE PERIOD 9-01-21_ TO 9-30-21_____

CASH RECEIPTS DETAIL                                   Account No:                       *****9227
(attach additional sheets as necessary)                                     *RECEIVER ACCOUNT*

        Date                      Payer                                Description                   Amount
    9/10/2021                    Dr Mason                                Rent               $          1,500.00
    9/14/0221                    Dr Mason                                Rent               $          1,500.00
     22-Sep                      Dr Mason                                Rent               $          1,500.00
     29-Sep                      Dr Mason                                Rent               $          1,530.74
                                                                                            $
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                                                                                            $

                                                           Total Cash Receipts              $          6,030.74 (1)

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.

(1) Total for all accounts should agree with total cash receipts listed on Form SB-2.
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DEBTOR:             CCS ASSET MANAGEMENT INC                                                             21-10355


                                                       Form SB-4
                    CASH RECEIPTS AND DISBURSEMENTS STATEMENT (SEE NOTE A)
                                             *RECEIVER ACCOUNT*



CASH DISBURSEMENTS DETAIL                                                    Account No:               *****9227
(attach additional sheets as necessary)

         Date         Check No.                  Payee                     Description (Purpose)          Amount
      9/10/2021         4544             Central Texas Refuse                 Trash Service        $          694.64
      9/8/2021          4543                   Travelers                    Insurance for CRP      $        1,126.80
                                                                                                   $
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                                                                     Total Cash Disbursements $             $1,821.44 (1)

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.

(1) Total for all accounts should agree with total cash disbursements listed on Form 2-B, page 1
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DEBTOR:            CCS ASSET MANAGEMENT INC                                                        21-10355

                                                  Form SB-4
                 CASH RECEIPTS AND DISBURSEMENTS STATEMENT (SEE NOTE A)
                                                       *DIP ACCOUNT*



CASH DISBURSEMENTS DETAIL                                           Account No:                  725316720
(attach additional sheets as necessary)

        Date         Check No.                 Payee                 Description (Purpose)          Amount
                                                                                             $
     9/1/2021           N/A                  Farmers                 Other Prop. Insurance   $          59.62
     8/19/2021          N/A                GC Plumbring                  Maintanance         $          69.00
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                                                                  Total Cash Disbursement $           $128.62

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.
(1) Total for all accounts should agree with total cash disbursements listed on Form SB-2
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DEBTOR:            CCS ASSET MANAGEMENT INC


                                                     Form SB-4
                  CASH RECEIPTS AND DISBURSEMENTS STATEMENT (SEE NOTE A)



CASH DISBURSEMENTS DETAIL                                              Account No:                     676089227
(attach additional sheets as necessary)

        Date         Check No.                  Payee                    Description (Purpose)            Amount
                                                                                                   $
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                                                                     Total Cash Disbursements$                 $0.00

(A) The term "cash" includes all forms of currency i.e., checks, cash, money orders, etc.
(1) Total for all accounts should agree with total cash disbursements listed on Form 2-B, page 1
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DEBTOR: CCS ASSET MANAGEMENT INC         of 18     CASE NO:         21-10355

                                                              Form SB-5
                                           COMPARATIVE BALANCE SHEET
                                            For Period Ended:                07/30/21
                                                                                                   Current               Petition
ASSETS                                                                                             Month                 Date (1)
Current Assets:
  Cash and Cash Equivalents (from Form 2-B, line 5)                                        $        71,386.83     $      38,749.00
  Accounts Receivable (from Form 2-E)                                                                    0.00                 0.00
  Receivable from Officers, Employees, Affiliates                                                        0.00                 0.00
  Inventory                                                                                              0.00                 0.00
  Other Current Assets :(List)                                                                           0.00                 0.00
                                                                                                         0.00                 0.00
      Total Current Assets                                                                 $        71,386.83     $      38,749.00
Fixed Assets:
  Land                                                                                     $    2,961,773.00      $    2,961,773.00
  Building
  Equipment, Furniture and Fixtures
      Total Fixed Assets                                                                   $    2,961,773.00       $   2,961,773.00
  Less: Accumulated Depreciation                                                           (                     ) (                  )
      Net Fixed Assets                                                                     $    2,961,773.00      $    2,961,773.00

  Other Assets (List):


      TOTAL ASSETS                                                                         $    3,033,159.83      $    3,000,522.00

LIABILITIES
Post Petition Liabilities:
  Post-petition Accounts Payable (from Form 2-E)                                           $             0.00     $            0.00
  Post-petition Accrued Profesional Fees (from Form 2-E)                                            80,000.00                  0.00
  Post-petition Taxes Payable (from Form 2-E)                                                            0.00                  0.00
  Post-petition Notes Payable                                                                            0.00                  0.00
  Other Post-petition Payable(List):          UST                                                      250.00


      Total Post Petition Liabilities                                                      $        80,250.00     $            0.00

Pre Petition Liabilities:
  Secured Debt                                                                                    735,661.19            735,661.19
  Priority Debt
  Unsecured Debt                                                                                  769,031.00            769,031.00

      Total Pre Petition Liabilities                                                       $    1,504,692.19      $    1,504,692.19

      TOTAL LIABILITIES                                                                    $     1,584,942.19     $    1,504,692.19

OWNERS' EQUITY
 Owner's/Stockholder's Equity                                                              $    1,448,217.64      $    1,495,829.81
 Retained Earnings - Prepetition
 Retained Earnings - Post-petition

      TOTAL OWNERS' EQUITY                                                                 $    1,448,217.64      $    1,495,829.81

      TOTAL LIABILITIES AND OWNERS' EQUITY                                                 $    3,033,159.83      $    3,000,522.00

      VARIANCE (ASSETS - LIABILITIES +- CAPITAL) MUST BE $0                                $              0.00    $            0.00
(1) Petition date values are taken from the Debtor's balance sheet as of the petition date or are the values
   listed on the Debtor's schedules.
  NOTE: IF USING EXCEL, EACH LINE MUST CONTAIN A NUMBER.
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DEBTOR:            CCS ASSET MANAGEMENT INC                                                          CASE NO:    21-10355

                                                     Form SB-6
                                            PROFIT AND LOSS STATEMENT
                                         For Period          09/01/21 to           09/30/21

                                                                                   Current                      Accumulated
                                                                                   Month                          Total (1)

Gross Operating Revenue                                                      $       6,030.75               $       41,122.55
Less: Discounts, Returns and Allowances                                  (                       )          (                    )
      Net Operating Revenue                                              $           6,030.75               $       41,122.55

Cost of Goods Sold                                                                       0.00                            0.00

      Gross Profit                                                       $           6,030.75               $       41,122.55
      Gross Profit Margin                                                             100.00%                        100.00%

Operating Expenses
   Officer Compensation                                                  $               0.00               $            0.00
   Selling, General and Administrative                                                   0.00                            0.00
   Rents and Leases                                                                      0.00                            0.00
   Depreciation, Depletion and Amortization                                              0.00                            0.00
   Other (list):     Receiver Payments                                               1,821.44                       11,371.78
                       Debtor Payments                                                 128.62                          793.18

   Total Operating Expenses                                              $           1,950.06               $       12,164.96

      Operating Income (Loss)                                            $           4,080.69               $       28,957.59


Non-Operating Income and Expenses
   Other Non-Operating Expenses                                          $               0.00               $            0.00
   Gains (Losses) on Sale of Assets                                                      0.00                            0.00
   Interest Income                                                                       0.00                            0.00
   Interest Expense                                                                      0.00                            0.00
   Other Non-Operating Income                                                            0.00                            0.00
   Net Non-Operating Income or (Expenses)                                $               0.00               $            0.00

Reorganization Expenses
   Legal and Professional Fees                                           $          20,000.00               $       80,000.00
   Other Reorganization Expense                                                          0.00                          250.00

   Total Reorganization Expenses                                         $          20,000.00               $       80,250.00

      Net Income (Loss) Before Income Taxes                              $         (15,919.31)              $      (51,292.41)

Federal and State Income Tax Expense (Benefit)

      NET INCOME (LOSS)                                                  $         (15,919.31)              $      (51,292.41)


(1) Accumulated Totals include all revenue and expenses since the petition date.
NOTE: IF USING EXCEL, ALL LINES MUST CONTAIN A NUMBER.
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DEBTOR:          44440                                                                   CASE NO:                21-10355


                                                    Form SB-7
                                            DISBURSEMENT SUMMARY
                                     For the Month Ended: 9/30/2021 0:00




   Total Disbursements from Operating Account (Note 1)                                   $                               128.62


   Total Disbursements from Payroll Account (Note 2)                                     $                                   0.00

   Total Disbursements from Tax Escrow Account (Note 3)                                  $                                   0.00

   Total Disbursements from and from Receiver Account (Note 4)                           $                             1,821.44


   Grand Total disbursements from all accounts                                           $                             1,950.06



   NOTE 1 - Include in this amount all checks written, wire transfers made from, or any other withdrawal from the general
   operating account. Exclude only transfers to the debtor in possession payroll account, the debtor in possession tax escrow
   account or other debtor in possession account where the disbursements will be listed on this report.


   NOTE 2 - Include in this amount all checks written, wire transfers made from, or any other withdrawal from the payroll
   account. Exclude only transfers to the debtor in possession operating account, the debtor in possession tax escrow account
   or other debtor in possession account where the disbursements will be listed on this report.


   NOTE 3 - Include in this amount all checks written, wire transfers made from, or any other withdrawal from the tax escrow
   account. Exclude only transfers to the debtor in possession operating account, the debtor in possession payroll account or
   other debtor in possession account where the disbursements will be listed on this report.

   NOTE 4 - Include in this amount any other disbursements made by the debtor including (but not limited to) cash paid from a
   petty cash fund or cash register, amounts paid from any other debtor in possession account, and amounts paid from the
   accounts of others on the debtors behalf (for example, disbursements made from a law firm's escrow account as a result of a
   sale of property.)


                                                      FEE SCHEDULE

In accordance with the Bankruptcy Judgeship Act of 2017, Pub. L. No. 115-72, the following website link will take you to
schedules which will apply for the calendar quarters beginning January 1, 2018 through September 30, 2018.

                                        www.justice.gov/ust/chapter-11-quarterly-fees



Interest will be assessed on Chapter 11 quarterly fees not paid by the end of the month following the end of the calander quarter
pursuant to 31 U.S.C. Sec. 3717. The interest rate assessed is the rate in effect as determined by the Treasury Department at the
time the account becomes past due.

Failure to pay the quarterly fee is cause for conversion or dismissal of the chapter 11 case. [11 U.S.C. Sec. 1112(b)(10)]
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DEBTOR:       CCS ASSET MANAGEMENT INC                                    CASE NO:               21-10355

                                                Form SB-8
                                              NARRATIVE
                                 R THE PERIOD _____09-30-21______

Please provide a brief description of any significant business and legal actions taken by the debtor, its creditors,
or the court during the reporting period, any unusual or non-recurring accounting transactions that are reported in
the financial statements, and any significant changes in the financial condition of the debtor which have occurred
subsequent to the report date.

The Court held hearing on (a) Hoberman motions to dismiss bankruptcy case, relief from stay, and to abstain
and (b) Debtor motions regarding turnover of property of the estate. The Court indicated that he would set a
show cause hearing for dismissal of the bankruptcy case on grounds of a bad faith filing and abstain on all
matters other than the effect of 4709 Incorporated's plan of reorganization on Hoberman's asserted liens. The
hearing is set for November 10, 2021.
